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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


 ZENA RAYFORD,                               )
                                             )
      Plaintiff,                             )           Case No. 08-2144
                                             )
 v.                                          )
                                             )
 THE STANDARD INSURANCE COMPANY,             )
                                             )
      Defendant.                             )


   ORDER GRANTING DEFENDANT’S MOTIONS FOR SUMMARY JUDGMENT AND TO
           DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION


       Before the Court are Cross Motions for Summary Judgment

 filed by Plaintiff Zena Rayford and Defendant Standard Insurance

 Company     (“Standard    Insurance”).           (See    Dkt.    Nos.    28,     32.)

 Standard Insurance has also filed a Motion to Dismiss for Lack

 of Subject Matter Jurisdiction that will ripen if the Court

 grants    its   Motion   for   Summary      Judgment.           (See    Defendant’s

 Memorandum in Support of Its Motion for Summary Judgment at 5-6)

 (“Def.’s Memo”); see also Fed. R. Civ. P. 12(b)(1).                     Because the

 Plaintiff    now    concedes   that   the       Employment   Retirement        Income

 Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1001 et seq., does

 not apply to her claim and Plaintiff cannot meet the amount-in-

 controversy requirement for diversity jurisdiction, the Court

 GRANTS the Defendant’s Motion for Summary Judgment and DISMISSES

 Plaintiff’s suit for lack of subject matter jurisdiction.
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        I.       SUMMARY JUDGMENT IS APPROPRIATE ON ERISA CLAIM

        Rayford filed suit against Standard Insurance on February

 29, 2008, alleging that Standard Insurance wrongfully denied her

 application for long-term disability benefits.                          (Compl. ¶¶ 9-

 12.)     Rayford asserted that her claim arose under ERISA.                          (Id. ¶

 4 (citing ERISA § 502(a)).)             However, Rayford now concedes that

 her claim cannot arise under ERISA because she is an employee of

 the    Shelby      County   Government,    and        ERISA    specifically         exempts

 “governmental        plans.”        (Plaintiff’s        Response       to     Defendant’s

 Motion for Summary Judgment, Dkt. No. 38, at 2) (“Pl.’s Resp.”);

 see also 29 U.S.C. § 1003(b)(1).

        ERISA defines a governmental plan as “a plan established or

 maintained for its employees by the Government of the United

 States      [or]    by   the    government       of     any    State     or       political

 subdivision thereof . . . .”                   29 U.S.C. § 1002(32) (emphasis

 added).         Counties    are     “political       subdivisions       of     the     State

 within in the meaning of section 3(32) of ERISA.”                                 Weiner v.

 Klais & Co., 108 F.3d 86, 90 (6th Cir. 1997).                           Because Shelby

 County’s     disability        insurance   plan       is     exempted       from    ERISA’s

 ambit by the statute’s plain language, the Court GRANTS Standard

 Insurance’s        Motion   for     Summary     Judgment       on   Rayford’s          ERISA

 claim.      See Cincom Sys. v. Novelis Corp., 581 F.3d 431, 435 (6th

 Cir.    2009)      (Where   “only    issues     of     law    remain,       [a]    case   is

 especially suited for summary disposition.”).

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         II.     THIS COURT LACKS JURISDICTION

         Because    claims     involving        governmental      plans    do   not   fall

 under     ERISA,      the     Court      does     not     have       federal     question

 jurisdiction.         See Weiner, 108 F.3d at 90.                Rayford alleges an

 additional source of jurisdiction for the Court to adjudicate

 her coverage dispute:            diversity.       See 28 U.S.C. § 1332(a).             To

 come within the Court’s diversity jurisdiction, 1) no plaintiff

 may be a citizen of the same state as any defendant; and 2) the

 amount    in    controversy      must     be    greater       than   $75,000.00.       28

 U.S.C. § 1332(a)(1); Strawbridge v. Curtiss, 7 U.S. (3 Cranch)

 267,     267    (1806)      (establishing        the    requirement       of   complete

 diversity).        Rayford is a citizen of Tennessee, and Defendant is

 a “foreign corporation” whose principal place of business is

 Oregon.         (Compl.     ¶¶   1-2.)         The     suit    meets     the   statute’s

 requirement of complete diversity.                    Standard Insurance asserts,

 however,       that   Rayford     cannot       meet     the    amount-in-controversy

 requirement, thus depriving the Court of jurisdiction.                           (Def.’s

 Memo at 5-6.)

         When considering an objection to jurisdiction based on the

 amount     in     controversy,     a    court     should       consider    the    amount

 alleged in the complaint and “should not dismiss a complaint for

 lack of subject matter jurisdiction ‘unless it appears to a

 legal certainty that the plaintiff in good faith cannot claim

 the jurisdictional amount.’”              Mass. Cas. Ins. Co. v. Harmon, 88

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 F.3d 415, 416 (6th Cir. 1996) (quoting Klepper v. First Am.

 Bank, 916 F.2d 337, 340 (6th Cir. 1990)).                             Rayford’s Complaint

 alleges      that    the   amount       in    controversy           “exceeds   one    hundred

 thousand      dollars,”        easily    meeting            the    $75,000   jurisdictional

 threshold.          (Compl. ¶ 3.)            However, Rayford acknowledges that

 her damages calculation includes money Standard Insurance may

 owe for “future benefits paid under the long-term part of her

 policy.”      (Pl.’s Resp. at 2.)

        The   Sixth      Circuit    follows            the    longstanding      federal    rule

 that, when calculating the amount in controversy for disability

 benefit provisions, a court may only consider potential future

 benefit payments when the validity of the policy is in question.

 Mass. Cas. Ins., 88 F.3d at 416.                             When the question is “the

 extent of the insurer’s obligation with respect to disability

 benefits and not the validity of the policy,” future benefit

 payments do not count toward the amount in controversy.                               See id.

 at 416-17 (citation omitted); Keck v. Fid. & Cas. Co., 359 F.2d

 840,   841    (7th      Cir.    1966)    (“Future            benefits    payable      under    a

 contract      of     insurance     may       be       used    to    compute    the    sum     in

 controversy for jurisdictional purposes only when the validity

 of the insurance policy itself, and not merely the presence or

 absence      of      conditions         measuring            the     insurer's       liability

 thereunder,        is   the    matter    in       dispute.”         (citations   omitted)).

 Standard Insurance does not dispute the underlying validity of

                                                   4
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 Rayford’s policy.          It only disputes whether Rayford meets the

 policy’s criteria for receiving additional disability benefits.

 (See Answer and Affirmative Defenses to the Complaint, Dkt. No.

 12, ¶ 5 (admitting that Rayford has a valid disability insurance

 policy issued by Standard Insurance).)                  Therefore, the Court can

 only     consider   the     amount       of       benefits    that    allegedly      are

 currently due Rayford in calculating the amount in controversy.

 Weiner, 88 F.3d at 416-17; Brogan v. United States Specialty

 Ins. Co., 607 F. Supp. 2d 833, 835 (W.D. Ky. 2009).

         The    Complaint     alleges          that    Standard       Insurance      paid

 Rayford’s disability benefits through January 2005.                          (Compl. ¶

 6.)     It is undisputed that the amount of the monthly disability

 benefit is $1,078.80.         (See Pl.’s Resp. at 2; Def.’s Memo at 2.)

 Even if the Court were to calculate the amount in controversy by

 taking    into   account     all    of    the      payments   allegedly      due    from

 February 2005 until the present date of March 2010, Standard

 would    owe   Rayford     only    $66,885.601,       $8,114.412      less   that    the

 jurisdictional requirement.3             Rayford, therefore, has failed to

 meet the requirements of diversity jurisdiction; and the court

 must DISMISS her Complaint.              Cf. Brogan, 607 F. Supp. 2d at 835

 (remanding suit to state court).

 1
   62 months x $1,078.80 per month
 2
   $75,000.01 – 66,885.60
 3
   Looking to the date on which Rayford filed suit, only 37 months had elapsed.
 Thus, the actual amount in controversy on the date Rayford sought to invoke
 the Court’s jurisdiction was only $39,915.60. (37 months x $1,078.80 per
 month)

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        III.    CONCLUSION

        For the foregoing reasons, the Court GRANTS the Defendant’s

 Motion for Summary Judgment on Plaintiff’s ERISA claim and finds

 that   it     lacks    subject   matter       jurisdiction   because   Plaintiff

 cannot meet the amount-in-controversy requirement for diversity

 jurisdiction.         The Court, therefore, DISMISSES Plaintiff’s suit.

               So ordered this 10th day of March, 2010.



                                      s/ Samuel H. Mays, Jr.
                                      SAMUEL H. MAYS, JR.
                                      UNITED STATES DISTRICT JUDGE




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